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      UNITED STATES COURT OF INTERNATIONAL TRADE

     BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
__________________________________________
                                         )
DALIAN MEISEN WOODWORKING                )
CO., LTD.                                )
                                         )
                                         )
               Plaintiff,                )
                                         ) Court No. 20-00109
     v.                                  )
                                         )
UNITED STATES,                           )
               Defendant,                )
                                         )
_________________________________________)

 REPLY BRIEF OF DALIAN MEISEN WOODWORKING CO., LTD.




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Dated: April 19, 2021
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                    GLOSSARY OF ABREVIATIONS

AFA               Adverse Facts Available
CIT               Court of International Trade
Def’t Br.         January 14, 2021 response brief filed by Defendant, the
                  United States
Def’t.-Int. Br.   January 14, 2021 response brief filed by Defendant-
                  Intervenor, the American Kitchen Cabinet Alliance
POI               Period of Investigation




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  REPLY BRIEF OF DALIAN MEISEN WOODWORKING CO., LTD.

  Pursuant to Rule 56.2 of the Rules of this Court, Dalian Meisen

Woodworking Co., Ltd. (“Meisen”) hereby files this reply to the January

14, 2021 response briefs filed by Defendant, the United States (“Def’t

Br.”) and Defendant-Intervenor the American Kitchen Cabinet Alliance

(“Def’t.-Int. Br.”). For the reasons discussed below, the Court should

grant Meisen’s Rule 56.2 Motion for Judgment on the Agency Record

and remand the case to the U.S. Department of Commerce

(“Commerce”) with instructions to reconsider its final determination

consistent with the findings of this Court.

  I.     INTRODUCTION

  This appeal is based upon the text of the statute and the record of

this investigation. Meisen reiterates to the Court that the record

establishes that it only produced cabinets made of birch wood and its

U.S. affiliates only sold cabinets made of birch wood during the period

of investigation. Defendant and Defendant-Intervenor have pointed to

no evidence to the contrary but have simply restated the concerns and

follow up questions raised in the underlying investigation that

Commerce should ask related to Meisen’s U.S. affiliates advertising

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materials. The record is abundantly clear that Commerce did follow up

on these questions with additional questions to Meisen, which Meisen

answered. The problem is not with Meisen’s responses, but rather is

Commerce’s refusal to follow up on those answers and conduct a

verification, as required by statute and as it had done in the parallel

countervailing duty case. In light of the facts, Meisen properly reported

birch wood as a factor or production and properly reported U.S. sales of

birch cabinets by constructing its CONNUMs using code “4,” which

covered birch wood. Commerce verified that Meisen only produced birch

cabinets in the parallel countervailing duty investigation and easily

could have verified the same fact here, but for the fact that it

improperly cancelled the statutorily mandated verification. Wooden

Cabinets and Vanities and Components Thereof from the People’s

Republic of China: Final Affirmative Countervailing Duty

Determination, 85 Fed. Reg. 11962 (February 28, 2020) and

accompanying Issues and Decision Memorandum at Comment 9.

  It is undisputed that at least some of the U.S. affiliates marketed to

their customers that the birch cabinets were made of maple wood, when

in fact they were only birch cabinets with a maple look. Had those


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affiliates revealed to their customers that the wood was actually birch,

they may well have received a lower price than they did for the

cabinets, but the Meisen affiliates’ advertising claims and the reasons

that the affiliates were able to obtain a higher price are not within

Commerce’s statutory purview, either to make an adjustment to U.S.

price or to take other remedial actions.

  Defendant and Defendant-Intervenors mistakenly claim that the

advertising created a CONNUM mismatch. Defendant and Defendant

Intervenor claim that by misrepresenting the product being sold to its

customers, “Meisen distorted the comparison that Commerce is tasked

with making” because “Meisen’s U.S. sales price does not represent the

U.S. sales price of birch cabinets.” See e.g. Def’t Br. at 19 and 23. This

claim reveals a fundamental misunderstanding of the antidumping

laws. Commerce is tasked with comparing the normal value of the

product as produced with the U.S. price actually charged. Commerce’s

only authority under the statute is to determine the amount by which

the normal value exceeds the export price or constructed export price of

the subject merchandise.” 19 U.S.C.A. § 1677; see also 19 U.S.C.A. §

1677b. To the extent that the export price or constructed export price is


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higher than normal value, there is no dumping and Commerce must so

find. Nothing in the text of the statute gives Commerce the authority to

determine the theoretical “worth” of a product and whether the U.S.

price was too high compared to that theoretical “worth.” Had Commerce

been given such authority the possibilities for “adjustments” for things

Commerce deems unfair are almost endless. Of course, if a higher

export price or constructed export price were achieved through the

violation of another law, Commerce may forward the issue to the

appropriate government agency to take action.

  The statute does not give Commerce the authority to either make

adjustments to prices or to punish companies without authority in the

statute. There is simply no statutory provision for Commerce to make

an adjustment to U.S. price for advertising claims just like there is no

statutory provision for Commerce to adjust U.S. price for violations of

antitrust laws, intellectual property laws, or any other means by which

a business may charge its customers a price that is higher than what

the product otherwise would be sold for. To the extent that Meisen’s

U.S. affiliates gained a higher price through marketing birch cabinets

as “maple,” that is an issue to resolved under other laws before the


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appropriate government agency, or the courts, using the applicable

legal standards. Commerce has not been given free-ranging authority

under the statute to punish companies for issues it finds that are not

within its jurisdiction, or to reject truthful submissions.

  Defendant and Defendant-Intervenor also argue that Meisen should

have reported the inconsistency in its advertising claims to Commerce

sooner during the investigation. However, they conveniently ignore that

Meisen truthfully answered the questions that Commerce asked,

including providing advertising and other documentation in its

responses that showed that it marketed the cabinets as maple to U.S.

customers. While respondent bears the burden of creating an accurate

record, there is no requirement that respondents force- feed the facts to

Commerce, particularly when the facts are not legally relevant to

Commerce’s margin calculation. Defendant and Defendant-Intervenor

explain what a “full confession” at the outset would have accomplished,

given their position that the alleged advertising claims created a

CONNUM mismatch that could not be resolved. That is simply

factually incorrect. Meisen could not accurately report a factor of

production for maple wood and could not code any U.S. sales as maple


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under code “5” as maple because none of the cabinets were actually

made of maple wood. Had Meisen done so, the reporting would have

been inaccurate and Commerce would have failed Meisen at verification

because of the mismatch between the code used and what actually was

sold and produced.

  In short, the cabinets produced were made of birch and the cabinets

sold were made of birch, Meisen accurately reported these facts to

Commerce, and there is no CONNUM mismatch as claimed by

Defendant and Defendant-Intervenor. Meisen repeatedly and

consistently reported that all of the cabinets produced and sold during

the period of investigation were made of birch wood. Neither Meisen nor

its U.S. affiliates submitted any false information to Commerce or

withheld any information from Commerce and there was no information

requested or required by the statute that was missing from the record.

The only information missing from the record was a verification report,

and that missing element was solely because Commerce unilaterally

cancelled the verification in this investigation. Therefore, there was no

basis for Commerce to resort to facts available, let alone facts available

with adverse inferences in this case.


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  These facts apparently presented Commerce with a dilemma of its

own making, given that the statute does not provide for any adjustment

to normal value or export price in this situation, but Commerce still

wanted to devise a means by which to punish Meisen for its advertising

claims to its customers. Commerce resolved this dilemma by improperly

resorting to adverse facts available, despite the fact that Meisen did not

provide Commerce with any false information and despite the fact that

Meisen did not withhold any information required by Commerce to

calculate a dumping margin under the statute. Ultimately, however,

Meisen’s behavior is not a trade remedy issue and Commerce is not the

agency to which Congress delegated the power to punish such behavior.

As discussed in Meisen’s opening brief, Commerce has already referred

this issue to the Federal Trade Commission. That is all it is empowered

to do with respect to any misrepresentations made by Meisen’s U.S.

affiliates to their customers. Having exercised that power, Commerce

cannot further penalize Meisen and must calculate a dumping margin

for Meisen based on the actual production and prices reported. Its

failure to do so, warrants a remand by this Court.




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  II.     ARGUMENT

  A. Commerce’s Application of Total Adverse Facts Available to
     Meisen Was Not Supported by Substantial Evidence and
     Otherwise in Accordance with Law

        1. Meisen Properly Reported its FOPs and U.S. Sales in
           Accordance with the Department’s Instructions and the Statute

  Meisen used birch wood in the production of the subject merchandise

and Meisen’s U.S. affiliates only sold these birch cabinets in the United

States during the period of investigation. Meisen’s books and records

supported these facts. See e.g. Post-Prelim Supplemental Questionnaire

Response, dated November 6, 2019 at pages 2 and 3 and Exhibits SD2-

2, SD2-5, SD2-7, SD2-8, SD2-9, SD2-11 (APPX086572-086573,

APPX087575-087661, APPX087668-087675, APPX087678-087778,

APPX087781-087795). Meisen reported a factor of production for birch

wood and constructed its CONNUMs as “4”, which included birch wood,

because that is the wood that was actually used. This reporting was in

accordance with the instructions of the Department and the statute.

  Mesien’s reporting was in accordance with Commerce’s instructions

in the sales questionnaire response as well. Commerce’s questionnaire

instructed Meisin to “[i]ndicate the primary type of material used in the

forward face (including the doors and drawers) of the product.” Section

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C Questionnaire Response, dated July 19, 2019 at page 9

(APPX082759). It was also in accordance with Commerce’s instruction

in the factors of production questionnaire to “[r]eport each raw material

used to produce a unit of the merchandise under consideration.” See

Section D Questionnaire Response, dated July 19, 2019 at page 11

(APPX082662). As Defendant itself notes, “[w]hether a product looks

like another product does not change the actual materials from which

that product is made…” Def’t Br. at 33. Neither Defendant nor

Defendant-Intervenor explain how Meisen should have reported its

factors of production or U.S. sales price differently, given the

instructions provide by Commerce. Meisen could not report any factor of

production for maple wood and could not code any U.S. sales as maple

under code “5” as maple because none of the cabinets were actually

made of maple wood. Had Meisen done so, the reporting would have

been inaccurate and Commerce would have failed Meisen at

verification.

   In their response briefs, Defendant and Defendant-Intervenor do not

seriously challenge the fact that Meisen only used birch wood to

produce the subject merchandise or that Meisen’s U.S. affiliates only


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sold cabinets made of birch wood. Rather, Defendant relies on

representations made by at least some of Meisen’s U.S. affiliates to

their U.S. customers that the cabinets were made of maple wood.

Defendant claims that these representations were relevant to the

antidumping determination because these birch cabinets were priced

and advertised as if they were made of maple, a more expensive wood.

Defendant and Defendant Intervenor claim that by representing the

product being sold to its customers, “Meisen distorted the comparison

that Commerce is tasked with making” because “Meisen’s U.S. sales

price does not represent the U.S. sales price of birch cabinets.” See e.g.

Def’t Br. at 19 and 23. Defendant claims that “Meisen failed to fully

disclose its U.S. pricing practices, including reporting information

essential to the proper construction of the CONNUMS” (Def’t Br. at 11)

and that “[t]his misleading representation results in a U.S. sales price

based on the customer’s understanding that the cabinet being sold is

made of maple.” Def’t Br. at 30. “As a result, Commerce was faced with

comparing two databases based on two different products with

significantly different prices, which is completely contradictory to the

rationale and purpose of Commerce’s antidumping duty calculations.”


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Def’t Br. at 33. According to Commerce, the purpose of the process “is to

avoid a scenario where the U.S. price for a more expensive product is

compared to the normal value for a less expensive product (or vice

versa).” Def’t. Br. at 19. Likewise, Defendant-Intervenor claims that

Meisen was able to obtain artificially higher U.S. sales price for its

birch cabinets by selling them as made of maple wood. Def’t-Int. Br. at

32. According to Defendant-Intervenor, Commerce could not use these

sales prices in the calculation because it would “underestimate that

actual amount of dumping that occurred during the POI” and “there

was no way for Commerce to determine what Meisen’s U.S. sales prices

would have been if its cabinets were correctly priced as birch cabinets.”

Def’t-Int. Br. at 32. (Emphasis added).

  These claims reveal a fundamental misunderstanding of the

antidumping statute and the authority of Commerce under the statute.

Commerce, under the statute, takes the sales values and factors of

production as it finds them. The statute is only concerned with the

actual factors of production used in the production of the subject

merchandise and the actual price charged for the subject merchandise,

not the “real” prices or other subjective factors as determined by a U.S.


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government official. Commerce is tasked with determining if that U.S.

price is lower than the normal value and, if so, determining the

dumping margin. The antidumping statute does not permit the

imposition of a dumping margin if the U.S. price is higher than the

normal value, regardless of why the U.S. price is higher.

  In non-market economy cases, the statute requires Commerce to base

normal value on the facts of produced actually used in the production of

the subject merchandise:

     the administering authority shall determine the normal
     value of the subject merchandise on the basis of the value of
     the factors of production utilized in producing the
     merchandise and to which shall be added an amount for
     general expenses and profit plus the cost of containers,
     coverings, and other expenses.

19 U.S.C. 1677b((c)(1)(B) (emphasis added). The statute also defines

constructed export price as the price at which the merchandise is

actually sold to an unaffiliated purchaser:

     The term “constructed export price” means the price at
     which the subject merchandise is first sold (or agreed to be
     sold) in the United States before or after the date of
     importation by or for the account of the producer or exporter
     of such merchandise or by a seller affiliated with the
     producer or exporter, to a purchaser not affiliated with the
     producer or exporter, as adjusted under subsections (c) and
     (d).


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19 U.S.C. 1677a(b) (emphasis added). Commerce’s authority under the

statute is to determine there is dumping by comparing this normal

value to the constructed export price:

     In determining under this subtitle whether subject
     merchandise is being, or is likely to be, sold at less than fair
     value, a fair comparison shall be made between the export
     price or constructed export price and normal value.

  19 USC. 1677b(a). The statute also provides that “[t]he term

‘dumping margin’ means the amount by which the normal value

exceeds the export price or constructed export price of the subject

merchandise.” 19 U.S.C.A. § 1677; see also 19 U.S.C.A. § 1677b.

  Commerce’s authority under the statute is limited to determining

whether such a dumping margin exists based on a comparison of the

normal value based on the factors of production actually used in the

production of the subject merchandise with the constructed export price

based on the price actually paid by the first unaffiliated U.S. customer.

It is a fundamental principle of administrative law that a government

agency may take action only to the extent that Congress has, through

passage of specific statutory authority, granted it the power to do so.

See United States v. Mead, 533 U.S. 218, 226- 227 (2001) (an agency

cannot act unless Congress has delegated authority); see also 5 U.S.C. §

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706(2) (instructing a court to "hold unlawful and set aside agency action

. . . found to be. . . (C) in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right”).

   While the statute provides for various adjustments to normal value

and constructed export price, it does so explicitly, and there are no

permitted adjustments to account for customers misunderstanding of

the product it was actually purchasing. The statute provides for only

certain specific adjustments to normal value:

      (6) Adjustments
      The price described in paragraph (1)(B) shall be--
            (A) increased by the cost of all containers and coverings
            and all other costs, charges, and expenses incident to
            placing the subject merchandise in condition packed
            ready for shipment to the United States;
            (B) reduced by--
                  (i) when included in the price described in
                  paragraph (1)(B), the cost of all containers and
                  coverings and all other costs, charges, and
                  expenses incident to placing the foreign like
                  product in condition packed ready for shipment to
                  the place of delivery to the purchaser,
                  (ii) the amount, if any, included in the price
                  described in paragraph (1)(B), attributable to any
                  additional costs, charges, and expenses incident
                  to bringing the foreign like product from the
                  original place of shipment to the place of delivery
                  to the purchaser, and
                  (iii) the amount of any taxes imposed directly
                  upon the foreign like product or components
                  thereof which have been rebated, or which have

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                 not been collected, on the subject merchandise,
                 but only to the extent that such taxes are added
                 to or included in the price of the foreign like
                 product, and
           (C) increased or decreased by the amount of any
           difference (or lack thereof) between the export price or
           constructed export price and the price described in
           paragraph (1)(B) (other than a difference for which
           allowance is otherwise provided under this section)
           that is established to the satisfaction of the
           administering authority to be wholly or partly due to--
                 (i) the fact that the quantities in which the
                 subject merchandise is sold or agreed to be sold to
                 the United States are greater than or less than
                 the quantities in which the foreign like product is
                 sold, agreed to be sold, or offered for sale,
                 (ii) the fact that merchandise described in
                 subparagraph (B) or (C) of section 1677(16) of this
                 title is used in determining normal value, or
                 (iii) other differences in the circumstances of sale.

19 U.S.C.§ 1677b(a)(6). The statute also provides for level of trade

adjustments, constructive export price offsets, and special rules for non-

market economy cases:

     (c) Nonmarket economy countries

     (1) In general If--
           (A) the subject merchandise is exported from a
           nonmarket economy country, and
           (B) the administering authority finds that available
           information does not permit the normal value of the
           subject merchandise to be determined under subsection
           (a),



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     the administering authority shall determine the normal
     value of the subject merchandise on the basis of the value of
     the factors of production utilized in producing the
     merchandise and to which shall be added an amount for
     general expenses and profit plus the cost of containers,
     coverings, and other expenses. Except as provided in
     paragraph (2), the valuation of the factors of production shall
     be based on the best available information regarding the
     values of such factors in a market economy country or
     countries considered to be appropriate by the administering
     authority.

19 U.S.C. § 1677b(c) (emphasis added). The statute provides for only
certain specific adjustments to export price and constructed export
price:

     (c) Adjustments for export price and constructed export price

  The price used to establish export price and constructed export price
shall be--
      (1) increased by--
            (A) when not included in such price, the cost of all
            containers and coverings and all other costs, charges,
            and expenses incident to placing the subject
            merchandise in condition packed ready for shipment to
            the United States,
            (B) the amount of any import duties imposed by the
            country of exportation which have been rebated, or
            which have not been collected, by reason of the
            exportation of the subject merchandise to the United
            States, and
            (C) the amount of any countervailing duty imposed on
            the subject merchandise under part I of this subtitle to
            offset an export subsidy, and
      (2) reduced by--
            (A) except as provided in paragraph (1)(C), the amount,
            if any, included in such price, attributable to any
            additional costs, charges, or expenses, and United

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           States import duties, which are incident to bringing
           the subject merchandise from the original place of
           shipment in the exporting country to the place of
           delivery in the United States, and
           (B) the amount, if included in such price, of any export
           tax, duty, or other charge imposed by the exporting
           country on the exportation of the subject merchandise
           to the United States, other than an export tax, duty, or
           other charge described in section 1677(6)(C) of this
           title.

     (d) Additional adjustments to constructed export price
     For purposes of this section, the price used to establish
constructed export price      shall also be reduced by--
     (1) the amount of any of the following expenses generally
     incurred by or for the account of the producer or exporter, or
     the affiliated seller in the United States, in selling the
     subject merchandise (or subject merchandise to which value
     has been added)--
           (A) commissions for selling the subject merchandise in
     the United States;
           (B) expenses that result from, and bear a direct
           relationship to, the sale, such as credit expenses,
           guarantees and warranties;
           (C) any selling expenses that the seller pays on behalf
     of the purchaser;        and
           (D) any selling expenses not deducted under
     subparagraph (A), (B), or (C);
     (2) the cost of any further manufacture or assembly
     (including additional material and labor), except in
     circumstances described in subsection (e); and
     (3) the profit allocated to the expenses described in
paragraphs (1) and (2).

19 U.S.C. § 1677a(c) & (d).




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  There is no statutory provision for Commerce to make a downward

adjustment to U.S. price for advertising claims that Commerce finds to

be inaccurate, just like there is no statutory provision for Commerce to

adjust U.S. price for violations of antitrust laws, intellectual property

laws, or any other means by which a business may charge its customers

a price that is higher than the product is theoretically worth.

  Nor is there a provision of the antidumping statute which grants

Commerce the authority to punish a company for charging unfairly high

prices, by imposing adverse facts available. Again, the antidumping

statute is not concerned with situation in which the U.S. price is higher

than the normal value and does not permit the imposition of a dumping

margin if the U.S. price is higher than the normal value, regardless of

why the U.S. price is higher. To the extent Meisen’s U.S. affiliates

gained some market advantage by mispresenting its cabinets as made

of maple, that is not an issue to be investigated under the antidumping

law nor is it an issue that can be punished under the antidumping law.

If an unfairly high U.S. price was achieved through the violation of

another law, Commerce should forward the issue to the appropriate

government agency.


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  This issue should be remanded to Commerce to reconsider its

decision to apply total adverse facts available without consideration of

any alleged misstatements by Meisen’s U.S. affiliates to their

customers.

     2. The Use of Facts Available with Adverse Inferences is not
        Supported by Substantial Evidence or Otherwise in Accordance
        with Law

  Defendant and Defendant-Intervenor incorrectly claim that Meisen

withheld information, failed to provide information in a timely manner

and significantly impeded the investigation. According to Defendant,

Meisen failed to explain why it exclusively markets its cabinets as made

of maple wood despite claiming that it only produced cabinets made of

birch and that Meisen could have raised the issue earlier in the

investigation. Def’t Int. Br. at 14-19.

  Meisen did not withhold any information from Commerce or impede

the investigation. In fact, it supplied all of the information requested by

Commerce by the deadlines set by Commerce. Indeed, the very reason

that Commerce now claims that it is entitled to apply AFA is grounded

in information that Meisen itself submitted to Commerce. This was not

information solicited in a supplemental questionnaire by Commerce but


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was part of Meisen’s original Section A response, the first response on

the record as part of the investigation. As pointed out in our initial

brief, Commerce itself noted in the preliminary determination that the

record evidence submitted by Meisen fully disclosed the advertising.

Preliminary Determination Memorandum for Dalian Meisen

Woodworking Co., Ltd., dated October 2, 2019 (APPX001026-001093).

Therefore, the Department was on notice of the advertising issue as

early as the Section A Questionnaire Response.

  Defendant-Intervenor cites to Taian Ziyang for the proposition that a

respondent does not fully disclose information to Commerce when that

information is buried in exhibits attached to its questionnaire

responses. See Taian Ziyang Food Co. v. United States, 33 C.I.T. 828

(2009). In that case, however, respondent explicitly denied using a

particular factor of production and the fact that this information was

incorrect was buried in a lengthy response. In this case, Meisen only

used birch in the production of the subject merchandise and its U.S.

affiliates only sold cabinets made of birch and Meisen accurately

reported that information to Commerce. While respondent bears the

burden of creating an accurate record as pointed out by Defendant-


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Intervenor (Def’t Int. Br. at 20), there is no requirement that

respondents explicitly point out every fact to Commerce, particularly

those that are legally irrelevant to the calculation Commerce’s dumping

margin.

  Moreover, it is not explained how explicitly disclosing the

information to Commerce earlier would have would have allowed

Commerce to calculate a company-specific rate for Meisen given the

position taken by Commerce in this case. As discussed above, Defendant

has already taken the position that marketing birch cabinets as maple

creates an irreconcilable mismatch between U.S. price and normal

value, regardless of the actual composition of the cabinets. Def’t Br. at

24. In Commerce’s view, and without reference to statutory authority,

in Commerce’s tortured analysis – simply marketing the birch cabinets

as maple by itself leads inevitably to adverse facts available. Thus, it

seems apparent that the explicit disclosure argument is simply an

avoidance of the real reason for Commerce’s AFA decision, which was

Commerce’s annoyance at some Meisen affiliates claiming birch product

was maple, and not just birch product with a maple look.




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  Defendant-Intervenor throws in the allegation that Meisen failed to

maintain books and records that would allow it to report to Commerce

the CONNUMs of its U.S. sales in an accurate manner. But it does not

explain what books and records were not maintained and makes no

reference to such a finding by Commerce. Def’t Int. Br. at 30. This is not

accurate and Defendant-Intevenor cites to no evidence supporting this

assertion. Meisen maintained accurate books and record demonstrating

the type of cabinets it actually made and sold, which is precisely why it

was able to correctly report both its factors of production and its sales

based upon the actual physical characteristics.

  Defendant-Intervenor also cites to the Court’s decisions in Yuantai

Xinke and Jiangsu Changbao, but these cases are distinguishable. In

Yuantai Xinke, the respondent reported using narrow coil steel strip to

produce the subject merchandise and, when requested to provide

evidence supporting this assertion, filed purchase orders and mill test

certificates from its suppliers to Commerce. Yantai Xinke Steel

Structure Co. Ltd. v. United States, 36 CIT 1035, 1045-1046 (2012).

Respondent also provided Commerce with similar evidence at

verification. Id. The respondent did not report to Commerce that it also


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prepared its own mill test certificates that conflicted with the mill test

certificates from the suppliers. Post-verification, Commerce obtained

these other mill test certificates from U.S. Customs, as they were

included by the importer with the entry documentation. Id. at 1047.

Respondent then acknowledged that the supplier mill test certificates

that had been submitted to Commerce were often inaccurate or false.

Id. at 1048. The Court held that the imposition of AFA was reasonable

under these circumstances finding that it was reasonable to find that

respondent “impeded the investigation by submitting questionnaire

responses it knew to be inaccurate and by not providing all of the

documents in its possession.” Id. at 1049.

  In Jiangsu Changbao, respondent had initially reported to Commerce

using both alloy and non-alloy steel billets to produce the subject

merchandise, but later recanted and claimed to have only used alloy

steel billets. Jiangsu Changbao Steel Tube Co., Ltd. v. United States,

884 F. Supp. 2d. 1295, 1299 (CIT 2012). Respondent maintained this

claim through verification despite Commerce finding discrepancies

between hard copy mill test certificates and the versions maintained in

respondent’s computer accounting system. Id. at 1300. After


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verification, Commerce received additional mill test certificates from

U.S. Customs that was different from the mill test certificate

respondent submitted for the same sale at verification. Id. Specifically,

the mill test certificate received from Customs indicated that the

subject merchandise was produced from non-alloy steel, rather than

alloy steel as reported at verification. Id. at 1301. The Court held that it

was reasonable for Commerce to determine that the respondent

withheld information requested of it when Commerce discovered that

respondent officials had lied during verification, claiming that the mill

test certificates provided to verifying officials were those that

accompanied the invoices of sales under investigation, while knowing

that this was not true. Id. at 1305. Moreover, the Court held that it is

reasonable for Commerce to infer that a respondent who admits to

having intentionally deceived Commerce officials, and does so only after

Commerce itself supplies contradictory evidence, exhibits behavior

suggestive of a general willingness and ability to deceive and cover up

the deception until exposure becomes absolutely necessary. Id. at 1306.

  In both of these cases, respondent maintained two sets of

contradictory records regarding the composition of the subject


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merchandise, which made it impossible for Commerce to determine

which set of documents was correct. Moreover, respondents made false

statements in their questionnaire responses and at verification, such

that Commerce did not become aware of the facts until after

verification. Those are not the facts here. Meisen consistently and

accurately reported that the cabinets it produced and sold were made of

birch. In fact, Commerce does not even seem to dispute this fact. The

only issue here is how the cabinets were marketed, which, as shown

above, is not relevant to the antidumping calculation.

  Likewise, Defendant-Intervenors citation to Hyundai Steel and Tung

Mung are inapposite. In Hyundai Steel, respondent failed to report

accurate CONNUMS and reported CONNUM characteristics that were

contradicted by documents supplied at verification. See Hyundai Steel

Co. v. United States, 319 F. Supp. 3d 1327, 1353 (Ct. Int'l Trade 2018).

In Tung Mung, the respondent failed to report certain home market

sales contrary to the instructions of Commerce. Tung Mung Dev. Co. v.

United States, 25 C.I.T. 752 (2001). In this case, Meisen accurately

reported that all of its production and sales were of birch cabinets. The

record reveals that neither Meisen nor its U.S. affiliates withheld any


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information, there was no relevant information missing from the record,

and the information reported by Meisen was accurate. Therefore, there

was no basis for Commerce to resort to facts available, let alone facts

available with adverse inferences.

     3. Commerce Possible Reliance on Partial Adverse Facts Available

  Defendant and Defendant-Intervenor argue that Commerce did not

have any partial facts available to apply in order to calculate a margin

for Meisen and that Meisen itself does not explain what record facts

could have been used as neutral or partial adverse facts available. Def’t.

Br. at 34 and Def’t Int. Br. at 52-53. First, Commerce made no findings

below regarding the possibility of using partial facts available because

it immediately resorted to total adverse facts available. The argument

that it now raises is a post hoc rationalization created for the purpose of

this litigation. Second, if any facts available could be properly used by

Commerce is an issue that should be argued at Commerce on remand.

  The fact remains that there is only one issue identified by Commerce

with respect to the voluminous data and information submitted by

Meisen, i.e. that some Meisen affiliates marketed birch cabinets as if

they were made of maple wood. That is not a sufficient basis to reject all


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of the information submitted by Meisen and use total adverse facts

available. The Court has found the use of partial adverse facts available

appropriate where a respondent only failed to provide information in

one respect and that, in such cases, the use of only partial adverse facts

available is the reasonable approach. Nat'l Nail Corp. v. United States,

390 F. Supp. 3d 1356, 1375 (Ct. Int'l Trade 2019). But here, where there

was no legal authority for Commerce to make any adjustment at all

based on the advertising, even that partial facts available was

inappropriate.


  B. Commerce Improperly Canceled Its Statutorily Mandated
     Verification

  To the extent Commerce had any doubt about whether Meisen

produced and sold birch or maple cabinets, the doubts could have been

resolved at verification. Indeed, that is the very purpose of verification.

Defendant defends Commerce’s decision not to verify based on the claim

that it was Meisen’s responsibility to build the record and explain why

there was a supposed discrepancy on the record. Def’t Br. at 35.

However, there is no real discrepancy on the record. Meisen responded

to all of Commerce’s questionnaires and provided the information


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requested by Commerce. At the very least, the facts surrounding the

maple issue were clear and the fact that Meisen and Petitioner may

have been offering different interpretations of the record evidence is not

an excuse to cancel verification. Meisen is not required to concede to

Petitioner’s interpretation of the facts before Commerce verifies the

facts on the record. In this instance, Commerce failed to complete its

investigation and improperly cancelled verification.

  Defendant cites to this Court’s decision in Shandong Bailey in

support of its decision not to verify. In that case, however, Commerce

found that the respondent in a countervailing duty investigation failed

to report all of its affiliated companies, which meant that all of its

questionnaire responses were incomplete and verification of those

responses futile, as it was too late for Commerce to collect new factual

information. Shandong Dongfang Bayley Wood Co. v. United States,

375 F. Supp. 3d 1339, 1348 (Ct. Int'l Trade 2019). In the instant case,

the only possible outstanding question is simply whether the cabinets

produced and sold by Meisen during the period of investigation were

truly made of birch or maple wood, a fact that could have been resolved

at verification by reviewing Meisen’s books and records. Indeed, the


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accuracy of this kind of information is what Commerce is tasked with

reviewing in every case. Commerce verified the same issue in the

parallel countervailing duty verification and found that Meisen only

produced cabinets made of birch wood. Wooden Cabinets and Vanities

and Components Thereof From the People’s Republic of China, 85 Fed.

Reg. 11,962 (February 28, 2020) (final countervailing duty

determination) and accompanying Issues and Decision Memorandum at

Comment 9. In short, there is no reason that Commerce could not have

resolved any lingering doubt in this antidumping investigation.

  Defendant also argues that verification would have been useless

because it would have at best shown that Meisen produced cabinets

produced of birch wood, which “could not have resolved the obvious

discrepancies between the U.S. sales price information for cabinets that

were exclusively advertised as, and sold under the pretense of being

maple cabinets – despite the cabinets being made solely of birch wood.”

Def’t Br. at 36. “Regardless. verification would at best have shown that

Meisen produced cabinets made solely of birch wood, as it did in the

CVD investigation. Verification could not have resolved the obvious

discrepancies between the U.S. sales price information for cabinets that


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were exclusively advertised as, and sold under the pretenses of being,

maple cabinets—despite the cabinets being made solely of birch wood.”

Def’t Br. at 36. Likewise, Defendant-Intervenor argue that Meisen’s

reported data was unusable because of the apparent inconsistencies in

its advertising claims: “Commerce could not deem Meisen’s reported

data to be usable and without any flaws by verifying that Meisen used

only birch wood to produce cabinets and verifying that it only sold the

cabinets as being made from maple wood. This fundamental

discrepancy is simply not the type of deficiency that could be tested and

cured by comparing the reported data to Meisen’s internal accounting

and sales documentation. The discrepancy would remain ever after

verification was complete.” Def’t Int. Br. at 52.

  Thus, Commerce and Defendant-Intervenors’ own arguments belie

the assertion that the cancellation of verification had anything to do

with a failure to submit a complete record by Meisen so that

information could not be verified. They simply want to avoid the issue of

whether any discrepancies in Meisen’s advertising claims was relevant

to Commerce’s determination under the antidumping laws. Indeed, the

upshot of their theory of the case is that the entire investigation,


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including all of Meisen’s questionnaire responses, made no difference

once the advertising discrepancy was detected. This argument is not

supported by the statute, the regulations, or common sense. If the fact

that Meisen advertised birch cabinets as made of maple wood is

relevant to the antidumping determination, then by extension, Meisen

could not have reported its data in any manner that would have been

acceptable to Commerce for purposes of calculating an actual dumping

margin. Under this theory, taken to its logical conclusion, petitioners

should start alleging false advertising, antitrust violations, or violations

of intellectual property laws in the petition so that Commerce can

simply apply AFA immediately upon initiation of a case without

conducting any investigation as to whether a respondent’s actual

normal value is higher than the actual U.S. sales price. Commerce could

thereby take responsibility for enforcing a wide variety of U.S. laws and

unfair business practices under the antidumping laws, making other

agencies and statutes unnecessary. As shown above, however,

Commerce simply does not have the authority to make adjustments for

claims which do not impact the calculation of an antidumping duty

margin. In this case, Commerce should have limited its investigation to


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the actual factors of production used to produce the subject merchandise

and the actual prices charged for the subject merchandise in the United

States. should have verified that information, and concerned itself with

adjustments to price or cost only as allowed by the statute.

  III.   CONCLUSION

  For the reasons stated above, Meisen respectfully requests that the

Court: (1) determine that Commerce’s final determination in the

antidumping investigation is unsupported by substantial evidence and

otherwise not in accordance with law in the ways alleged above; (2)

remand this case to Commerce with instructions to reconsider its final

determination consistent with the findings of this Court; and (3) provide

such other relief as this Court may deem just and proper.

                                  Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

     Pursuant to Chamber Procedure 2(B)(2), the undersigned certifies

that this submission complies with the word limitation requirement.

The word count for this submission, as computed by Husch Blackwell’s

word processing system Microsoft Word 2019, is 6,546 words.



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                      CERTIFICATE OF SERVICE

     A true and accurate copy of the foregoing was electronically filed on

April 19, 2021 via the Court’s ECF filing system, which automatically

serves notice on counsel of record.


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